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19   ORACLE AMERICA, INC.
20                                  UNITED STATES DISTRICT COURT
21                                 NORTHERN DISTRICT OF CALIFORNIA
22                                     SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA

24                    Plaintiff,                       DECLARATION OF FRED NORTON IN
                                                       SUPPORT OF ORACLE AMERICA,
25          v.                                         INC.’S OPPOSITION TO GOOGLE,
                                                       INC.’S DAUBERT MOTION
26   GOOGLE, INC.
                                                       Dept.: Courtroom 9, 19th Floor
27                 Defendant.                          Judge: Honorable William H. Alsup

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         DECLARATION OF FRED NORTON ISO ORACLE’S OPPOSITION TO GOOGLE’S DAUBERT MOTION
                                    CASE NO. CV 10-03561 WHA
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1    I, FRED NORTON, declare as follows:
2           1.      I am a partner with the law firm of Boies, Schiller & Flexner LLP, attorneys for plaintiff
3    Oracle America, Inc. in the above captioned matter, and admitted to practice before this Court.
4           2.      I make this declaration based on my own personal knowledge. If called as a witness, I
5    could and would testify competently as to the matters set forth herein.
6           3.      Attached hereto as Exhibit A is a true and correct copy of excerpts of a document titled
7    Declaration of Jonathan D. Putnam In Support of AU Optronics Corporation’s Reply Brief In Support
8    of Its Motion For Permanent Injunction, LG Display Co., Ltd. v. AU Optronics Corp., et. al., C.A. No.
9    06-726-JJF, C.A. No. 07-357-JJF, C.A. No. 08-355-JJF, (D. Del.), Dkt. No. 1588, dated as filed August
10   17, 2010.
11          4.   Attached hereto as Exhibit B is a true and correct copy of excerpts of the transcript of the
12   deposition of Dr. Iain M. Cockburn, taken on February 10, 2012.
13          5.   Attached hereto as Exhibit C is a true and correct copy of excerpts of a document titled
14   Order on Motions in Limine, Medical Instrumentation & Diagnostics Corp. v. Elekta AB, et al., No.
15   97-CV-2271 (S.D. Cal.), Dkt. No. 464, dated January 10, 2002.
16          6.   Attached hereto as Exhibit D is a true and correct copy of excerpts of the transcript of the
17   deposition of Peter Kessler, taken on February 16, 2012.
18          7.   Attached hereto as Exhibit E is a true and correct copy of excerpts of the transcript of the
19   deposition of Chris Plummer, taken on February 16, 2012.
20          8.   Attached hereto as Exhibit F is a true and correct copy of excerpts of the transcript of the
21   deposition of Mark Reinhold, taken on February 15, 2012.
22          9.   Attached hereto as Exhibit G is a true and correct copy of excerpts of the transcript of the
23   deposition of John Rose, taken on February 15, 2012.
24          10. Attached hereto as Exhibit H is a true and correct copy of excerpts of the transcript of the
25   deposition of Hinkmond Wong, taken on February 16, 2012.
26          11. Attached hereto as Exhibit H is a true and correct copy of “A Better Consumer Survey for
27   Better Damages,” IP Value Commentator (April 2003), http://www.nera.com/extImage/5958.pdf by Dr.
28   Alan J. Cox.
                                                        1
          DECLARATION OF FRED NORTON ISO ORACLE’S OPPOSITION TO GOOGLE’S DAUBERT MOTION
                                     CASE NO. CV 10-03561 WHA
          Case 3:10-cv-03561-WHA Document 738 Filed 02/24/12 Page 3 of 4


1           12. Attached hereto as Exhibit H is a true and correct copy of Survey Techniques for Rigorous
2    Measurement of Damages in Trade Dress Confusion Cases, NERA (Jan. 8, 2007),
3    http://www.nera.com/67_4876.htm by Dr. Alan J. Cox and & Louis Guth.
4           I declare under penalty of perjury that the foregoing is true and correct and that this declaration
5    was executed on February 24, 2012 at Oakland, California.
6
                                                   By: /s/ Fred Norton_______
7                                                      Fred Norton
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          DECLARATION OF FRED NORTON ISO ORACLE’S OPPOSITION TO GOOGLE’S DAUBERT MOTION
                                     CASE NO. CV 10-03561 WHA
          Case 3:10-cv-03561-WHA Document 738 Filed 02/24/12 Page 4 of 4


1                                           ATTESTATION OF FILER
2              I, Steven C. Holtzman, have obtained Fred Norton’s concurrence to file this document on his
3    behalf.
4
     Dated: February 24, 2012                      BOIES, SCHILLER & FLEXNER LLP
5
                                                   By: /s/ Steven C. Holtzman
6                                                      Steven C. Holtzman
7                                                  Attorneys for Plaintiff
                                                   ORACLE AMERICA, INC.
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          DECLARATION OF FRED NORTON ISO ORACLE’S OPPOSITION TO GOOGLE’S DAUBERT MOTION
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